                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION


UNITED STATES OF AMERICA
       V.                                        CASE NUMBER: 3:09CR234-1

JUAN T. MASON


       THIS MATTER is before the Court on an Order of Remand, filed 12/14/2011,

from the Fourth Circuit Court of Appeals for re-sentencing.

       NOW, THEREFORE, IT IS ORDERED that:

The Bureau of Prisons and the United States Marshals service is hereby ORDERED to

transport and produce the body of JUAN T. MASON (USM# 10220-058), for re-

sentencing before the honorable Frank D. Whitney, in the Western District of North

Carolina, Charlotte, North Carolina not later than January 27, 2012, and upon

completion of the re-sentencing hearing, Defendant is to be returned to the custody of

the Bureau of Prisons.

      The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States

Probation Office.

      IT IS SO ORDERED.

                                             Signed: January 11, 2012




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